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1    Benjamin Galdston (SBN 211114)
     BERGER MONTAGUE PC
2    12544 High Bluff Drive, Suite 340
3    San Diego, CA 92130
     Tel: (619) 489-0300
4    Email: bgaldston@bm.net
5
     E. Michelle Drake (pro hac vice)
6    John G. Albanese (pro hac vice)
     BERGER MONTAGUE PC
7    43 SE Main Street, Suite 505
8    Minneapolis, MN 55414
     Tel: (612) 594-5999
9    Fax: (612) 584-4470
     Email: emdrake@bm.net
10
     jalbanese@bm.net
11   Attorneys for Plaintiffs Katherine Sass and
12   Cody Hounanian and the Proposed Classes
     [Additional Counsel Listed on Signature Page]
13
14                              UNITED STATES DISTRICT COURT
15                        NORTHERN DISTRICT OF CALIFORNIA
16
     KATHERINE SASS AND CODY                       Case No. 3:20-cv-03424-EMC
17   HOUNANIAN, on Behalf of
     Themselves and All Others Similarly           CLASS ACTION
18
     Situated,
19                                                 NOTICE OF VOLUNTARY
                  Plaintiffs,                      DISMISSAL WITHOUT PREJUDICE
20
           vs.
21                                                 Hon. Edward M. Chen
22   GREAT LAKES EDUCATIONAL LOAN
     SERVICES, INC., EQUIFAX
23   INFORMATION SERVICES, LLC,
     TRANS UNION, LLC, EXPERIAN
24   INFORMATION SOLUTIONS, INC. AND
25   VANTAGESCORE SOLUTIONS, LLC,

26                Defendants.
27
28                                 NOTICE OF VOLUNTARY DISMISSAL
                                                -1-
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1           NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure
2    41(a)(1)(A)(i), Plaintiffs Katherine Sass and Cody Hounanian voluntarily dismiss
3    without prejudice the above-entitled action against defendants Great Lakes Educational
4    Loan Services, Inc.; Equifax Information Services, LLC; TransUnion, LLC; Experian
5    Information Solutions, Inc.; and VantageScore Solutions, LLC. This notice of dismissal
6    is being filed with the Court before service by Defendants of either an answer or a motion
7    for summary judgment.
8    Date: August 28, 2020                     Respectfully submitted,
9                                              BERGER MONTAGUE PC

10                                             /s/ Benjamin Galdston
                                               BENJAMIN GALDSTON
11
                                               12544 High Bluff Drive, Suite 340
12                                             San Diego, CA 92130
                                               Tel: (619) 489-0300
13                                             Email: bgaldston@bm.net
14                                             E. Michelle Drake (pro hac vice)
                                               John G. Albanese (pro hac vice)
15
                                               BERGER MONTAGUE PC
16                                             43 SE Main Street, Suite 505
                                               Minneapolis, MN 55414
17                                             Tel: (612) 594-5999
18                                             Fax: (612) 584-4470
                                               Email: emdrake@bm.net
19                                                     jalbanese@bm.net
20                                             Alexander Hood
                                               TOWARDS JUSTICE
21                                             1410 High Street, Suite 300
22                                             Denver, CO 80218
                                               Tel: (720) 239-2606
23                                             Email: alex@towardsjustice.org
24                                             Attorneys for Plaintiffs and
25                                             the Proposed Classes

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27
28                                NOTICE OF VOLUNTARY DISMISSAL
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